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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
versus                                           §   CASE NO. 1:06-CR-119(2)
                                                 §
DOUGLAS EUGENE SUND                              §

     MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for consideration. Judge Giblin conducted a hearing to determine Defendant Eugene

Sund’s competency for purposes of sentencing. After considering the examiner’s findings, Judge

Giblin filed his Report and Recommendation on Defendant’s Competency to Stand Trial (#37).

Judge Giblin concluded that Mr. Sund is competent for purposes of sentencing under 18 U.S.C.

§ 4244.

         The parties have not objected to the magistrate judge’s findings and recommendation. The

Court accepts the findings in the Report and Recommendation. The Court ORDERS that Judge

Giblin’s Report and Recommendation on Defendant’s Competency (#37) is ADOPTED. The

Court further ORDERS and FINDS, in accordance with the magistrate judge’s recommendation,

the examiner’s report, and the parties’ agreement that Defendant Eugene Sund is competent for

purposes of sentencing pursuant to Title 18, United States Code, Section 4244.
       .
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 8th day of March, 2007.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
